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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                         CASE NO: 1:21-cv-21079-BB




           SECURITIES AND EXCHANGE COMMISSION
                  ​Plaintiff

           v.



           MINTBROKER INTERNATIONAL, LTD.,
           f/k/a SWISS AMERICA SECURITIES LTD.
           and d/b/a SURETRADER, and
           GUY GENTILE, a/k/a GUY GENTILE NIGRO,
                 ​Defendants.
           _______________________________/




                                           NOTICE OF APPEARANCE



                  PLEASE TAKE NOTICE that the undersigned, Dayliset Rielo, of the Rielo Law Firm, is
           hereby entering her appearance as counsel in the above-styled cause.

                   ​Counsel hereby states that this appearance is in conformity with the requirements of
           Local General Rule 11.1 and the Special Rules Governing the Admission and Practice of
           Attorneys. Undersigned respectfully requests that service and copies of all papers in this action
           should be served upon the undersigned at the following email addresses: aford@fordobrien.com,
           dayliset@rielolaw.com.




                  Dated this 4th day of November, 2021.



                                                                      Respectfully Submitted,
                                             The RieloDocket
Case 1:21-cv-21079-BB Document 32 Entered on FLSD      Law Firm,11/05/2021
                                                                 L.L.C.    Page 2 of 2

                                                          ​
                                             By:/s/      DAYLISET RIELO
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